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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                        :
 UNITED STATES OF AMERICA
                                                                        :
                      - v. -                                                   S2 17 Cr. 548 (PAC)
                                                                        :
 JOSHUA ADAM SCHULTE,
                                                                        :
                                Defendant.
                                                                        :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




              GOVERNMENT’S MEMORANDUM OF LAW IN OPPOSITION TO
                      DEFENDANT JOSHUA ADAM SCHULTE’S
              MOTION TO VACATE SPECIAL ADMINISTRATIVE MEASURES




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                                  PRELIMINARY STATEMENT

          The Government submits this memorandum of law in opposition to defendant Joshua

Adam Schulte’s motion (“Motion” or “Mot.”) 1 to vacate the special administrative measures (the

“SAMs”) imposed by the Bureau of Prisons (the “BOP”) at the direction of the Attorney General.

For the reasons set forth below, the SAMs are entirely appropriate and reasonably tailored to

Schulte’s misconduct, and thus, the Court should deny the Motion.

          Contrary to Schulte’s attempt to characterize himself as a victim of arbitrary and vindictive

BOP action, the reality is that Schulte brought the imposition of the SAMs on himself. Even before

his detention at the Metropolitan Correctional Center (“MCC”), Schulte has engaged in an

escalating series of willful and illegal acts that culminated in his declaration of an “information

war” against the United States from the MCC. Schulte’s wanton disregard for the rules governing

the disclosure of classified information began during his time with the Central Intelligence Agency

(the “CIA”), where he broke into CIA computer systems, stole classified information, and

transmitted it to the online organization WikiLeaks.org (“WikiLeaks”), which disclosed it

publicly.

          While released on bail, Schulte violated his bail conditions by accessing the Internet

through a computer program that allows anonymous access to the Internet, specifically to hide his

conduct from the Government, and illegally provided classified information to his family. After

he was detained, Schulte enlisted his family and other inmates to help him brazenly violate a

protective order entered by the Court, and then, even after the Court admonished him, he doubled

down and did it again, this time also illegally disclosing classified information in the process.

Finally, from the MCC, Schulte declared the aforementioned “information war” against the United


1
    Schulte’s memorandum in support of his Motion is referred to herein as “Def. Br.”
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States, threatening to reveal all of the classified information he knew unless he was released. In

furtherance of this so-called “war,” Schulte smuggled contraband cellphones into the MCC,

created encrypted email accounts and secret social media accounts, and drafted misleading

“articles” for public dissemination that were not only fraught with misinformation but also

contained classified information. The Court need not speculate whether Schulte would disclose

classified information illegally from the MCC because he already has.

       Against that backdrop, Schulte’s arguments fail. His claim that the record does not support

the imposition of the SAMs under the governing BOP regulations ignores his persistent disregard

of the Court’s orders and the laws governing classified information. His contention that the BOP

is not authorized to regulate his attorney-client interactions is squarely at odds with the relevant

BOP regulations. And his constitutional arguments that the SAMs are not related to a legitimate,

non-punitive, governmental interest fall flat when measured against the Government’s and the

BOP’s obvious interest in protecting the national security of the United States by preventing him

from continuing to disclose classified information illegally. If there were ever a case where

measures like the SAMs were appropriate, it is surely one, like Schulte’s, where an inmate charged

with one of the largest leaks of classified information in U.S. history has gone to extraordinary

lengths – to the point of enlisting his family and friends, smuggling contraband cellphones into

prison, and creating secret email and social media accounts – to try to blackmail the Government

into releasing him by disclosing and threatening to disclose more classified information. The

Government respectfully submits that Schulte’s Motion should be denied.




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                                        BACKGROUND

I.     The Charged Offenses and Schulte’s Pretrial Conduct

       Schulte is charged in a 15 count superseding indictment with (1) three counts of violating

18 U.S.C. § 793, in connection with his unlawful theft and transmittal of classified information

from the CIA (the “WikiLeaks Charges”); (2) another count of violating Section 793, in connection

with his unlawful disclosure and attempted disclosure of classified information from the MCC (the

“MCC Leak Charge”); (3) four counts of violating 18 U.S.C. §§ 641 and 1030, in connection with

Schulte’s unauthorized accessing of CIA computer systems and theft of classified information

from therein (the “Illegal Computer Access Counts”); (4) two counts of violating 18 U.S.C. §§

1001 and 1503, in connection with false statements Schulte made to the Federal Bureau of

Investigation (the “FBI”) during its investigation (the “Obstruction Charges”); (5) one count of

violating 18 U.S.C. § 401(3), in connection with his willful violation of the protective order (the

“Contempt Charge”); (6) three counts of violating 18 U.S.C. § 2252A, in connection with Schulte’s

receipt, possession, and transportation of child pornography (the “Child Pornography Charges”);

and (7) one count of violating 18 U.S.C. § 2319, in connection with Schulte’s criminal violation

of copyrights (the “Copyright Charge”). S2 17 Cr. 548 (PAC). The Government expects that its

evidence at trial will establish, among other things, the following:

       A.      Schulte’s Theft and Transmission of Classified Information

       Schulte worked at the CIA for several years, where he held various positions. In or about

2015 and 2016, Schulte worked in a specific group within the CIA (the “Group”) that was

responsible for developing classified cyber tools. To develop those tools, the Group maintained

classified information on an isolated local-area computer network (the “LAN”). Access to the

LAN was limited principally to members of the Group. Schulte not only had access to the LAN


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but also was part of a small group of CIA employees who had certain administrative rights on the

system. These rights allowed Schulte to manipulate the LAN in specific ways, including by

controlling access to various parts of the system. Through his work, Schulte had access to and

knowledge of specific cyber tools the CIA employed, CIA operations that employed such tools,

and identities of CIA officers.

       Beginning in late 2015, a dispute began between Schulte and another CIA employee

(“Employee-1”). Schulte claimed that Employee-1 threatened to kill him, which led to a CIA

internal investigation. As a result of Schulte’s complaint, the CIA transferred Schulte and

Employee-1 to different groups within the CIA to separate them, which had the effect of limiting

Schulte’s privileges with respect to the LAN. Ultimately, the CIA’s investigation determined that

Schulte’s claim was without merit, which angered Schulte.

       Within weeks of his transfer, Schulte began to manipulate the LAN to give himself

administrative privileges that he should no longer have had. Through this illegal manipulation and

access, Schulte unlawfully stole a large volume of classified information. Then, as now, Schulte

used deceit and subterfuge to try to hide his activity. Schulte manipulated the LAN to conceal his

activity, erasing log files that would have shown his misconduct, and lied directly to his supervisor.

Schulte later transmitted the classified information that he stole. Then, in November 2016, Schulte

resigned from the CIA and moved to New York.

       Between March and November 2017, WikiLeaks made 26 separate publications of

classified information (together, the “Leaks,” collectively, the “Leaked Information”). The Leaked

Information contained, among other things, highly sensitive information including detailed

descriptions of certain tools used by CIA operators. The Leaks’ impact on the CIA’s intelligence

gathering activities and the national security of the United States was catastrophic.


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       B.      The Child Pornography on Schulte’s Desktop Computer

       Immediately after the first Leak, the FBI began to investigate. As part of that investigation,

the FBI executed a search warrant on Schulte’s apartment in New York and recovered, among

other things, multiple computers, servers, and other portable electronic storage devices, including

Schulte’s personal desktop computer (the “Desktop Computer”). On the Desktop Computer, FBI

agents found an encrypted container (the “Encrypted Container”) containing over 10,000 images

and videos of child pornography (the “CP Files”). For example, one video depicted a girl

approximately three-to-six-years’ old engaging in various sex acts.

       There is overwhelming evidence that the CP Files belong to Schulte. FBI computer

scientists discovered the Encrypted Container containing the CP Files beneath three layers of

encryption on Schulte’s Desktop Computer. Each layer of encryption was unlocked using

passwords previously used by Schulte on one of his cellphones. Moreover, FBI agents identified

Internet chat logs in which Schulte and others discussed their receipt and distribution of child

pornography. FBI agents also identified a series of Google searches conducted by Schulte in which

he searched the Internet for child pornography. Finally, during an interview with law enforcement

on June 26, 2017, Schulte admitted that the Desktop Computer was his primary computer; that he

was the sole and exclusive user of the desktop computer; that he had personally installed

encryption software on the desktop computer; and that he had not shared with anyone else the

passwords for the encrypted portions of the Desktop Computer. On August 24, 2017, the FBI

arrested Schulte in connection with his possession of child pornography.

       C.      Schulte Violated His Bail Conditions

       Initially, Schulte was ordered detained pending trial, but on September 13, 2017, the Court

bailed Schulte with strict conditions, including a prohibition on possessing or using a computer,


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computer network, or the Internet without express authorization from Pretrial Services. Soon after

his release, however, Schulte began to violate the Court’s prohibition on unauthorized Internet

access, including by logging into his own email account. Schulte also used the “TOR” network,

which allows for anonymous communications on the Internet. Schulte had previously used TOR

networks to facilitate his transfer of the Leaked Information to Wikileaks.

       Based on this evidence concerning Schulte’s Internet usage, as well as his December 6,

2017 arrest on unrelated sexual assault charges filed in Virginia, the Government sought to remand

Schulte. At the bail hearing, Schulte’s counsel – without objection from Schulte – claimed that

Schulte had used the TOR network because “Mr. Schulte is writing articles, conducting research

and writing articles about the criminal justice system and what he has been through, and he does

not want the government looking over his shoulder and seeing what exactly he is searching.” See

Mot. Ex. B at 15 (emphasis added). On January 8, 2018, the Court determined that Schulte had

violated his bail conditions by using the Internet without authorization and was a danger to the

community, and ordered his detention. The Second Circuit affirmed the Court’s ruling. See United

States v. Schulte, No. 18-145 (2d Cir. Mar. 6, 2018) (summary order, Dkt. # 34) (the “Schulte

Summary Order”).

       D.      Schulte Violated the Protective Order

       On September 18, 2017, the Court entered a protective order (the “Protective Order”)

governing the production of certain discovery in this case, based upon a determination that it was

necessary to protect materials that, if disseminated to third parties, could jeopardize national

security and the safety of others, as well as impede ongoing investigations. The Protective Order

provides that Schulte and his defense team can use certain designated materials only to prepare his

defense, and can disseminate protected materials only to specified individuals involved in the


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preparation of his defense. Schulte, through counsel, agreed to the terms of the Protective Order.

The Government subsequently produced several search warrant affidavits in discovery that were

subject to restrictions in the Protective Order (the “Protected Search Warrants”).

       Despite the terms of the Protective Order, Schulte nevertheless disclosed at least one of the

Protected Search Warrants to reporters with The Washington Post and The New York Times. On

May 15, 2018, both The Washington Post and The New York Times published articles concerning

this case that discussed the content of at least one of the Protected Search Warrants. In a recorded

telephone conversation from jail, Schulte described the contents of one of the Protected Search

Warrants to a reporter. When asked by the reporter whether the material was classified, Schulte

responded that it was not, but stated that it was subject to the Protective Order. Recorded prison

calls also showed that Schulte enlisted members of his family, including his cousin, to disseminate

one or more of the Protected Search Warrants, as well as what Schulte described as “articles” he

had written. The Government subsequently recovered copies of these “articles” from Schulte’s

family, including at least one “article” that included classified information. 2

       On May 21, 2018, at the Government’s request, the Court held a hearing. At the hearing,

the Court reiterated the terms of the Protective Order to Schulte and stated, explicitly, “If you want

to vary the terms of the protective order, your relief is not to do it on your own, Mr. Schulte, but

to have your lawyer come into court and explain why there should be a modification of the order.”

Mot. Ex. C at 7. The Court also confirmed that Schulte understood the provisions of the Protective

Order and the requirements it imposed on him. See id. at 8.



2
 In classified submissions and correspondence, the Government has advised the Court and cleared
defense counsel about the specific nature of this classified information, and other classified
information that Schulte transmitted or attempted to transmit while at the MCC, see infra pp. 9-
10.
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       E.      Schulte’s Pro Se Bail Motion

       On June 20, 2018, the Court arraigned the defendant on the first superseding indictment

filed in this case. Approximately one week later, on June 28, 2018, Schulte appeared before the

Court again and waived his venue arguments with respect to certain counts. At the conference,

Schulte provided the Court with a handwritten pro se filing (the “Pro Se Filing”). After the

conference, the Pro Se Filing briefly appeared on the public docket, until defense counsel contacted

the Court and asked for it to be removed.

       Following that appearance, the Government informed defense counsel that the CIA was

reviewing the Pro Se Filing to determine if it contained classified information. Nevertheless,

Schulte sent the Pro Se Filing to an attorney and his parents in Texas, 3 none of whom has any

security clearances. The CIA determined that the Pro Se Filing contained classified information,

and the FBI recovered a copy of the document from the attorney in Texas.

       F.      Schulte Declares an “Information War” from the MCC

       While Schulte was detained at the MCC – and prior to the imposition of the SAMs – he

and other inmates arranged to have cellphones (the “Contraband Cellphones”) illegally smuggled

into the prison for their use. Schulte coordinated his activities with other inmates, often using

other inmates to obtain or store the Contraband Cellphones and using the Contraband Cellphones

to pass messages covertly to other inmates.          An image showing Schulte using one of the

Contraband Cellphones while at the MCC is attached hereto as Exhibit A. Schulte used the

Contraband Cellphones to access encrypted email accounts (the “Encrypted Email Accounts”) and

social media accounts (the “Social Media Accounts”). In his own words, Schulte intended to use


3
  Schulte claims that there is no evidence that he sent the Pro Se Filing to his parents, but in a
recorded prison call, one of Schulte’s parents confirmed receiving the document by mail from one
of Schulte’s defense attorneys.
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these accounts to engage in an “information war” with the United States by systematically

disclosing classified information and materials designed to obstruct the investigation and

prosecution. For example, in journals found in Schulte’s MCC cell, Schulte wrote the following:

       •   “If govt doesn’t pay me $50 billion in restitution & prosecute the criminals who lied to
           the judge and presented this BS case then I will visit every country in the world and
           bear witness to the treachery . . . that is the USG [United States Government]. I will
           look to breakup diplomatic relationships, close embassies, and U.S. occupation around
           the world & finally reverse U.S. jingoism. If this one the way the U.S. govt treats one
           of their own, how do you think they treat allies?”

       •   “I NEED my discovery to be released to the public. I NEED my articles to be updated.”

       •   “The way is clear. I will set up [two blogs]. From here, I will stage my information
           war: . . . The [blog] will contain my 10 articles . . . .”

       Schulte’s “information war” was no idle musing. Rather, Schulte used the Encrypted Email

and Social Media Accounts to disseminate and attempt to disseminate classified information. For

example, using one of the Encrypted Email Accounts, Schulte began to correspond with a reporter.

In this correspondence, Schulte pretended to be a third person who was speaking on Schulte’s

behalf, and told the reporter that he would give the reporter “information” on several topics –

including disclosures relating to high-ranking elected officials in the United States – if the reporter

published stories pursuant to a timeframe dictated by Schulte. For example, in one email Schulte

stated: “If you can consent to an embargo on disclosure of the information for a limited time we

would give you an exclusive to the information spanning several topics.” Moreover, in another

email sent in September 2018, Schulte emailed the reporter a copy of one of the Protected Search

Warrants – even though Schulte previously had confirmed his understanding that the Protective

Order prohibited this type of dissemination. Schulte also attached a document in which he disputed

facts contained in the Protected Search Warrant and in which he included classified information.




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       Using the Contraband Cellphones, Schulte also began to post his writings on some of the

Social Media Accounts. In these posts, Schulte asserted, among other things, that the Government

had planted child pornography on his computer and that, through this prosecution, the “United

States government has done the job of a foreign adversary to exploit its own intelligence officers.”

Although the Government seized the Contraband Cellphones before Schulte was able to complete

his plan, Schulte’s journals make clear that he intended to disseminate other classified information.

For example, Schulte’s journals include (1) a purported WikiLeaks article authored by a supposed

FBI “whistleblower,” who claimed to have leaked Schulte’s discovery to WikiLeaks and to have

knowledge that Schulte had been framed by the FBI; (2) drafts of tweets allegedly written by one

of Schulte’s former CIA colleagues, which disclosed classified information to bolster the alleged

former colleague’s credibility and which claimed knowledge that Schulte had been framed, this

time by the CIA; and (3) a draft “article” in which Schulte criticized the FBI’s investigation and

included classified information about Schulte’s training at the CIA. Based on this conduct, the

Government charged him with the MCC Leak Count and the Contempt Count.

II.    Schulte’s Detention

       A.      The Attorney General Authorizes the SAMs

       The Attorney General may authorize the BOP “to implement special administrative

measures that are reasonably necessary to prevent disclosure of classified information.” See 28

C.F.R. § 501.2(a). To do so, the Attorney General must receive a certification from a head of a

U.S. intelligence agency (like the CIA) stating “that the unauthorized disclosure of such

information would pose a threat to national security and that there is a danger that the inmate will

disclose such information.” Id. SAMs may be imposed for a maximum of one year and may then

be successively renewed, or re-imposed, in increments of up to one year. Id. § 501.2(c).


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       Here, following the discovery of the conduct that led to the MCC Leak Count and the

Contempt Count, the U.S. Attorney’s Office – in coordination with the FBI and the Department of

Justice’s Counterintelligence and Export Control Section of the National Security Division –

submitted a memorandum to the Department of Justice’s Office of Enforcement Operations

(“OEO”) recommending the imposition of SAMs. Attached to that memorandum was a letter from

the Director of the CIA certifying that the implementation of SAMs was reasonably necessary to

prevent disclosure of classified information by Schulte, and that the disclosure of such information

would pose a threat to the national security. OEO conducted its own review and recommended

imposition of SAMs. After reviewing OEO’s recommendation, the Assistant Attorney General

and Deputy Attorney General then recommended imposition of SAMs to the Attorney General.

       On or about October 26, 2018, the Attorney General issued a written memorandum (the

“AG Memorandum”) directing the BOP to implement the SAMs.                  The AG Memorandum

described the reasons for the SAMS, including, among other things, (1) the fact that Schulte was

charged with illegally stealing the Leaked Information from the CIA and disclosing it to

WikiLeaks; (2) Schulte’s disclosure of at least one of the Protected Search Warrants in violation

of the Protective Order; and (3) Schulte’s “continued willingness to disclose classified information,

even while incarcerated.” See Mot. Ex. F at 4-5.

       B.      The Relevant SAMs Provisions

       In general, the SAMs limit Schulte’s contacts and communications with others because

such communications could result in the unauthorized disclosure of classified information. Except

as allowed by the SAMs, Schulte is barred from “having contact (including passing or receiving

any oral, written or recorded communications) with any other inmate, visitor, attorney, or anyone

else . . . that could reasonably foreseeably result in [Schulte] communicating (sending or receiving)


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information that could circumvent the SAMs’ intent of significantly limiting [Schulte’s] ability to

communicate (send or receive) classified information.” See Mot. Ex. F ¶ 1(c). The SAMs prohibit

Schulte from being housed or communicating with another inmate. See id. ¶ 6.

       Notwithstanding the limits regarding third-party contacts, the SAMs permit counsel,

precleared staff, investigators, and experts to communicate with Schulte in a variety of ways to

prepare his defense. See generally Mot. Ex. F ¶ 2. For example, Schulte can meet with his cleared

legal team in person or speak with them on the phone, see id. ¶ 2(b) (“Attorney/Client Privileged

Visits”) and ¶ 2(f) (“Legally Privileged Telephone Calls”); Schulte’s attorneys are permitted to

disseminate the contents of Schulte’s communications to third parties for the purpose of preparing

his defense, id. ¶ 2(c) (“Attorney May Disseminate Inmate Conversations”); Schulte’s attorneys’

cleared paralegals may meet and communicate with Schulte without his attorneys present, id.

¶ 2(d) (“Unaccompanied Attorney’s Precleared Paralegal(s) May Meet With Client”); Schulte may

have multiple legal visitors present at one time so long as they are accompanied by one of his

attorneys or cleared paralegals, id. ¶ 2(e) (“Simultaneous Multiple Legal Visitors”); and Schulte’s

attorneys may provide him with unclassified documents related to his defense, including discovery

materials, court papers, and materials prepared by his attorneys, id. ¶ 2(g). Critically, the SAMs

do not authorize the Government or BOP to monitor, record, or review Schulte’s communications

with his legal team in any way. See, e.g., id. ¶ 2(f)(3), n.5 (“This section does not allow monitoring

of attorney-client privileged communications.”). 4

       Paragraph 3 of the SAMs governs Schulte’s non-legal contacts and communications. In

particular, Schulte may have non-legal contacts – either by phone or in person – only with his



4
 In addition to legal visits at the MCC, Schulte also regularly visits a secure space outside of the
prison to meet with his defense team to review classified discovery.
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immediate family members. See id. ¶ 3(a), (f). These non-legal contacts are live-monitored by

law enforcement officials, and the phone calls are also recorded. Id. ¶ 3(d), (f)(iii).

       Finally, the SAMs contain certain provisions with respect to mass media materials. Schulte

is permitted television and radio privileges, consistent with standard BOP practice. Id. ¶ 8(b).

With respect to mass media publications, Schulte is permitted access to such materials, provided

that these materials have not been determined by the BOP, in consultation with the Government,

to “facilitate criminal activity or be detrimental to national security; the security, good order, or

discipline of the institution; or the protection of the public.” Id. ¶ 8(a)(i). The SAMs permit the

BOP, in consultation with the FBI, to determine whether any portions of a publication are

prohibited under the SAMs. Id. ¶ 8(a)(iii).

                                           DISCUSSION

       Schulte’s arguments to vacate the SAMs flounder on one unassailable fact: Schulte is a

risk of illegally disclosing information from the MCC through unregulated modes of

communication because Schulte already has illegally disclosed classified information from the

MCC through unregulated modes of communication. Accordingly, the Motion should be denied.

I.     The SAMs Fully Comply with 28 C.F.R. § 501.2 and Are Reasonably Necessary to
       Protect Against the Additional Disclosures of Classified Information by Schulte

       Schulte argues that the SAMs do not comply with 28 C.F.R. § 501.2 because, Schulte

claims, (1) “there was no evidence Mr. Schulte would disclose classified information such that

these measures were reasonably necessary,” Def. Br. at 10, and (2) there is no statutory basis to

restrict Schulte’s attorney-client communications. These arguments are without merit. In fact,

with respect to Schulte’s second argument and as discussed below, the SAMs do not implicate his

attorney-client relationship at all because they do not permit any monitoring of those

communications and have not prevented him from speaking with his attorneys.

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       A.      There Is a Clear Danger That Schulte Will Disclose Classified Information
               from Prison

       Schulte’s repeated and willful violations of Court orders and unlawful disclosures of

classified information – both before and after remand – overwhelmingly support the Attorney

General’s conclusion that “there is a danger that Schulte will disclose classified information” and

that SAMs “are reasonably necessary to prevent disclosure of such information.” See Mot. Ex. F

at 5. Put bluntly, the inquiry as to whether the SAMs are necessary should begin and end with the

fact that Schulte – having previously given classified information illegally to his family and

violated Court orders while released on bail – has already disclosed classified information illegally

from the MCC, using the Contraband Cellphones, Encrypted Email Accounts, and Social Media

Accounts, as part of an “information war” against the United States. Id. (AG Memorandum noting

that one of the reasons to impose the SAMs was Schulte’s “continued willingness to disclose

classified information, even while incarcerated”). Unable to avoid this conclusion, Schulte resorts

to an artificial parsing of the other reasons described in the AG Memorandum.

       First, Schulte argues that the fact that the Government charged Schulte with the WikiLeaks

Charges in June 2018 but that the BOP did not impose the SAMs until October 2018 demonstrates

that the WikiLeaks Charges cannot be a basis for the imposition of the SAMs. See Def. Br. at 11.

Schulte is wrong. The WikiLeaks Charges are not the only reason to impose the SAMs, but they

are a reason, because they show that probable cause exists to believe that Schulte had leaked the

CIA’s classified information, thus making him the type of threat that should reasonably concern

BOP officials, even without more. See United States v. Trabelsi, 2014 WL 12682266, at *4

(D.D.C. 2014) (“Prison regulations that are based on anticipatory concerns of prison security are

rational, despite the absence of prior violence or disruptions.”). Moreover, the fact that the

Attorney General waited before imposing the SAMs shows that they were a measured response to
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all of Schulte’s conduct, including his misconduct at the MCC, and not simply a blanket measure

adopted due to the initial charges against him. See United States v. Kassir, 2008 WL 2695307, at

*5 (S.D.N.Y. 2008) (rejecting argument that defendant’s special administrative measures were

“automatic[ally]” imposed because other al Qaeda defendants were subject to similar measures,

and concluding that the Government’s supporting memoranda “describe actions that Kassir has

himself undertaken”).

        Second, Schulte argues that his Internet use in violation of his bail conditions does not

support imposing the SAMs. Schulte initially argues, again, that the violation was the result of a

“genuine misunderstanding,” see Def. Br. at 12, but that argument has already been rejected by the

Court and the Second Circuit. See Schulte Summary Order. Furthermore, Schulte’s argument that

the Court should discount his bail violation because the Government had not yet charged him with

espionage misses the point entirely. The significance of Schulte’s bail violation is not solely his

willful disobedience of Court orders, but also that he (again) acted in an underhanded manner that

evinced consciousness of guilt, using TOR to anonymize his Internet access. Indeed, Schulte’s

secretive conduct while on bail was prologue for his misconduct at the MCC, where he used

smuggled cellphones and encrypted email accounts to hide his illegal actions from the Government

and jail officials.

        Third, Schulte seeks to minimize his violation of the Court’s Protective Order by arguing

that the issue was “already raised by the government and addressed by the Court at the May 21,

2018 court conference.” See Mot. pp. 12-13. Schulte’s claim that his violation of the Protective

Order was a non-issue after the May 21 conference is, frankly, stunning. While Schulte attempts

to tout the second chance that the Court gave him, he ignores entirely that – despite the Court’s

forbearance and warning to him – Schulte nevertheless again transmitted a Protected Search


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Warrant to a reporter from the MCC, and committed a separate crime by also sending a document

that contained classified information. The May 2018 incident and the follow-on incident from the

MCC do not undercut the need for the SAMs, but rather, show that Schulte will not be deterred

from his misguided “information war” by less restrictive measures.

       Fourth, Schulte disputes that his revelation of CIA employees’ identities in an April 18,

2018 prison call and inclusion of classified information in the Pro Se Filing, both of which are

described in the AG Memorandum, support imposing the SAMs. Initially, Schulte ignores the

other instances in which he transmitted and attempted to transmit classified information from the

MCC, each of which alone justifies the SAMs. But the two incidents described in the AG

Memorandum provide additional support for the imposition of SAMs. First, Schulte argues that

because the Government produced a recording of an April 18, 2018 prison call to him in

unclassified discovery, he did not disclose classified information during the call. What Schulte

omits, however, is that while the identifying information provided to the reporter may not have

been classified on its own, he did describe to a reporter the roles of certain members of the Group,

and directed the reporter to contact his parents for additional identifying and contact information

for the individuals he described. As Schulte well knows, information that would identify covert

officers, and information associating both covert and overt officers with the CIA Group, is

classified. Thus, even though Schulte may not have provided the classified information in the call,

he nevertheless gave the reporter a roadmap to learn it. Second, Schulte’s contention that he sent

the Pro Se Filing to an attorney in Texas for legal advice is no defense because, again, as Schulte

is aware, Schulte has no right to give classified information to anyone who does not possess a

security clearance – this includes uncleared attorneys, and it certainly includes his parents. See

United States v. Hashmi, 621 F. Supp. 2d 76, 84 (S.D.N.Y. 2008) (Government’s interest in


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preventing disclosure of classified information to those without a security clearance outweighs

defendant’s right to choice of counsel).

       B.      The SAMs’ Provisions Related to Attorney-Client Communications Are
               Appropriate

       Schulte argues that there is no basis to regulate attorney-client communications, but that

claim is a red herring because it relies on a separate and irrelevant BOP regulation. Specifically,

Schulte argues that because the BOP amended 28 C.F.R. § 501.3 – a regulation that allows for

special administrative measures to prevent violence – to allow for monitoring of attorney-client

interactions, see 28 C.F.R. § 501.3(d), but did not similarly amend Section 501.2, the BOP is now

powerless to regulate attorney-client interactions unless seeking to prevent violence.          The

regulation under which the SAMs were imposed on Schulte, however, gives the BOP broad

latitude to regulate an inmate’s interactions when the inmate poses a risk of disclosing classified

information, and does not exclude attorney-client interactions from its purview. See 28 C.F.R.

§ 501.2(a) (BOP may “limi[t] certain privileges, including, but not limited to, correspondence,

visiting, interviews with representatives of the news media, and use of the telephone, as is

reasonably necessary to prevent the disclosure of classified information.”). The only restrictions

placed on Schulte’s interactions with his counsel is that the cleared defense team can disseminate

its communications with Schulte only to third parties “for the sole purpose of preparing [Schulte’s]

defense” and cannot forward third-party communications to Schulte. See Mot. Ex. F ¶¶ 1(c), 2(a)

& 2(c). These restrictions are plainly reasonable given Schulte’s attempts to use third parties and

secretive methods to further his “information war.” See Turner v. Safley, 482 U.S. 78, 93 (1987)

(“In any event, prisoners could easily write in jargon or codes to prevent detection of their real

messages.”). Thus, Section 501.2 grants the BOP the authority to impose the SAMs here. See



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      United States v. Saipov, S1 17 Cr. 722 (VSB), Dkt. # 108 (the “Saipov Order”) at 11 n.9 (rejecting

      same argument under identically worded provision of Section 501.3).

             To be sure, the BOP’s amendment of Section 501.3 gave the BOP additional authority to

      monitor attorney-client interactions when there is “reasonable suspicion” that the inmate will use

      his attorneys to further violence, see 28 C.F.R. § 501.3(d), but that provision is entirely irrelevant

      here because the SAMs imposed on Schulte do not permit monitoring of his attorney-client

      interactions. See Mot. Ex. F ¶ 2(f)(3), n.5 (“This section does not allow monitoring of attorney-

      client privileged communications.”).      Thus, there is no need to evaluate whether there is

      “reasonable suspicion” that Schulte would use his attorneys as part of his “information war.”

      Accordingly, Schulte’s challenge to these provisions of the SAMs is without merit.

II.          The SAMs Are Constitutional

             Schulte also raises a raft of constitutional arguments, all of which fail based on the factual

   record before the Court. The Second Circuit and numerous other courts have repeatedly rejected

   constitutional challenges to SAMs. See, e.g., United States v. El-Hage, 213 F.3d 74, 81-82 (2d

   Cir. 2000); Saipov Order at 20; United States v. Mohamed, 103 F. Supp. 3d 281, 287-88 (E.D.N.Y.

   2015); United States v. Basciano, 763 F. Supp. 2d 303, 329 (E.D.N.Y. 2011), aff’d, 634 F. App’x

  832 (2d Cir. 2015); Hashmi, 621 F. Supp. 2d at 86; Kassir, 2008 WL 2695307 at *3-4.

             A.      Applicable Law

             “Not every disability imposed during pretrial detention amounts to ‘punishment’ in the

  constitutional sense.” Bell v. Wolfish, 441 U.S. 520, 537 (1979). “Once the Government has

  exercised its conceded authority to detain a person pending trial, it obviously is entitled to employ

  devices that are calculated to effectuate this detention.” Id. Thus, “the Government must be able




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to take steps to maintain security and order at the institution.” Id. at 540; see also United States v.

Felipe, 148 F.3d 101, 111 (2d Cir. 1998) (upholding severe post-conviction restrictions).

       Of course, there are limits on the restrictions that prison officials may impose on a pretrial

detainee. Specifically, “under the Due Process Clause, a detainee must not be punished prior to

an adjudication of guilt in accordance with due process of law.” Bell, 441 U.S. at 535. In

accordance with this rule, “[a] court must decide whether the disability is imposed for the purpose

of punishment or whether it is but an incident of some other legitimate governmental purpose.”

Id. at 538. “Absent proof of intent to punish, . . . this determination generally will turn on whether

an alternative purpose to which the restriction may rationally be connected is assignable for it, and

whether it appears excessive in relation to the alternative purpose assigned to it.” Block v.

Rutherford, 468 U.S. 576, 584 (1984) (internal quotation marks and brackets omitted). “Restraints

that are reasonably related to the institution’s interest in maintaining jail security do not, without

more, constitute unconstitutional punishment, even if they are discomforting and are restrictions

that the detainee would not have experienced had he been released while awaiting trial.” Bell, 441

U.S. at 540.

       Courts should defer to the decisions of the BOP, because “prison administrators . . . , and

not the courts, [are] to make the difficult judgments concerning institutional operations.” Jones v.

N.C. Prisoners’ Union, 433 U.S. 119, 128 (1977); see also Turner, 482 U.S. at 89; Felipe, 148

F.3d at 110. Accordingly, “courts should ordinarily defer to their expert judgment in such

matters.” Pell v. Procunier, 417 U.S. 817, 827 (1974).

       Deference is particularly appropriate when the restrictions are intended to promote security

concerns.      “[P]rison officials may well conclude that certain proposed interactions, though

seemingly innocuous to laymen, have potentially significant implications for the order and security


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of the prison.” Thornburgh v. Abbott, 490 U.S. 401, 407 (1989). Thus, if prison officials “put

forward a legitimate government interest, and provide some evidence that the interest put forward

is the actual reason for the regulation,” the restriction likely will be upheld. Casey v. Lewis, 4 F.3d

1516, 1520-21 (9th Cir. 1993) (internal quotation marks and citation omitted).

        Courts consider four factors in evaluating the reasonableness of a prison regulation.

Turner, 482 U.S. at 89; see El-Hage, 213 F.3d at 81 (employing the Turner test to uphold the

constitutionality of special administrative measures). “First, there must be a valid, rational

connection between the prison regulation and the legitimate governmental interest put forward to

justify it.” Turner, 482 U.S. at 89. Second, the Court should determine “whether there are

alternative means of exercising the right that remain open to prison inmates.” Id. at 90. “Where

‘other avenues’ remain available for the exercise of the asserted right . . . , courts should be

particularly conscious of the ‘measure of judicial deference owed to corrections officials . . . in

gauging the validity of the regulation.’” Id. (quoting Pell, 417 U.S. at 827). Third, the Court

should consider the “impact accommodation of the asserted constitutional right will have on guards

and other inmates, and on the allocation of prison resources generally.” Id. Fourth, the court

should consider “the absence of ready alternatives [as] evidence of the reasonableness of a prison

regulation.” Id. “This is not a ‘least restrictive alternative’ test: prison officials do not have to set

up and then shoot down every conceivable alternative method of accommodating the [defendant’s]

constitutional complaint.” Id. at 90-91.

        B.      The SAMs Do Not Violate Schulte’s Right to Due Process

        Schulte argues that the SAMs’ provision placing him functionally in solitary confinement

violated his due process rights because “there is no ‘valid, rational connection’ between [the

SAMs] and the legitimate security-related interests underlying 28 C.F.R. § 501.2.” Def. Br. at 17.


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Schulte’s argument again simply ignores the record. Prohibiting Schulte from interacting with

other inmates is connected to a legitimate governmental interest: protecting the national security

of the United States by preventing Schulte from disclosing classified information to advance his

“information war.” Similarly, limiting Schulte’s contacts with other inmates is clearly a rational

means of furthering that interest, given that Schulte already has enlisted other inmates to help him

by smuggling in the Contraband Cellphones, among other things. Thus, the SAMs are not arbitrary

restrictions, but rather, are a direct response to the substantial risk that Schulte’s contact with third

parties will compromise the country’s national security.

        The cases upon which Schulte relies bolster, rather than undercut, this conclusion. Def.

Br. at 17-18. In United States v. Gotti, the court held that the BOP could not hold the defendants

in administrative detention because they had done nothing while in custody that showed that they

were a threat to others. See 755 F. Supp. 1159, 1165 (E.D.N.Y. 1995). Similarly, in United States

v. Suleiman, the court held that because there was no evidence that the defendant was a security

risk while in custody, the BOP could not detain him in administrative detention. See 1997 WL

220308, at *1-2 (S.D.N.Y. 1997). In this case, on the other hand, there is ample evidence that

Schulte is a threat of disclosing classified information while in custody – namely, that while at the

MCC, he already has illegally disclosed classified information.

        C.      The SAMs Do Not Violate Schulte’s Sixth Amendment Right to Counsel

        Schulte also argues that the SAMs interfere with his Sixth Amendment right to counsel

because the SAMS (1) permit only his defense counsel to disseminate the content of Schulte’s

communications to third parties; (2) prohibit Schulte’s defense team from forwarding third-party

communications to and from Schulte; and (3) allegedly chill defense counsel’s representation of

Schulte. None of these contentions supports vacating the SAMs.


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       First, Schulte argues that the SAMs paragraph 2(c) – which provides that Schulte’s

“attorney[s] may disseminate the contents of [Schulte’s] communication to third parties for the

sole purpose of preparing the inmate’s defense” – is vague and overbroad. Defense counsel, who

have many years’ experience with similar language in routine protective orders (including two in

this case), plainly know what it means to prepare a criminal defense and disseminate information

relating to that defense. In any event, the conclusory claim that paragraph 2(c) is vague and

overbroad is insufficient to establish a deprivation of Schulte’s Sixth Amendment right to counsel.

Cf. United States v. Aiello, 814 F.2d 109, 113 (2d Cir. 1987) (claims resting on “airy generalities”

and “conclusory assertions” are insufficient to sustain a claim under 18 U.S.C. § 2255).

       Schulte is also wrong that the dissemination provision makes an arbitrary distinction

between attorneys (who are permitted to disseminate information from Schulte) and other staff

(who are not so permitted). The assessment of whether dissemination is “for the sole purpose of

preparing the inmate’s defense” is a legal one, which necessarily must be made by defense counsel

and not non-legal members of the defense team. That is especially true when much of the

information Schulte conveys to his defense team may be classified and thus should be disclosed

only to individuals with appropriate security clearances. It may be burdensome for Schulte’s

attorneys to control which information is disseminated to third parties, but the fact that a

communication restriction that is reasonably related to a legitimate penological goal also imposes

a burden on the defense does not render it unconstitutional. See Bell, 441 U.S. at 540 (“Restraints

that are reasonably related to the institution’s interest in maintaining jail security do not, without

more, constitute unconstitutional punishment, even if they are discomforting . . . .”).

       For support, Schulte relies on the court’s decision in Saipov, in which Judge Broderick

modified a similar provision to allow non-attorneys to disseminate information from the defendant


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after consulting with defense counsel. See Saipov Order pp. 23-24. Initially, it is important to

note that Judge Broderick explicitly rejected the defense argument that this communication

restriction was unconstitutionally vague. See id. p. 24 n.17. Moreover, the circumstances in

Saipov, a capital case, are markedly different than those in this case. First, Judge Broderick

modified the provision because he concluded that it would be “unduly burdensome” to impose the

provision as drafted because, among other reasons, “the criminal defense and mitigation

investigation spans at least two continents.” See id. p. 25. In contrast, the conduct at issue here

occurred entirely in Virginia and New York. Second, Judge Broderick concluded that the

Government’s concern that an attorney should make the legal decision as to what was necessary

for the preparation of the defense was adequately addressed by requiring that any member of the

defense team consult with defense counsel before disseminating any information from the

defendant. See id. In this case, however, because much of the information that Schulte provides

to his defense counsel may be classified, the issue is not simply whether a disclosure is for purposes

of preparing the defense – that disclosure must also be consistent with the defense’s obligation to

maintain the secrecy of classified information. This added complexity supports requiring cleared

defense counsel to be the ones to disseminate information from Schulte.

       Second, Schulte argues that the SAMs’ prohibition on “forward[ing] third-party messages

to or from the inmate” is vague and overbroad. See Mot. Ex. F ¶¶ 1(c) & 2(a). In particular,

Schulte focuses on his counsel’s ability to convey “innocuous personal information to and from

family members.” Def. Br. at 21. This bar on forwarding “messages” is not overly broad.

Observations about Schulte can certainly be shared with his family, but messages from Schulte

(i.e., verbal, written, or recorded communications) that are unrelated to his defense cannot be

shared with any third parties, even if defense counsel perceives them to be innocuous. See


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Mohamed, 103 F. Supp. 3d at 290-91 (upholding identical provision as “sufficiently clear” and

reasonably related to legitimate government objective). In addition, the SAMs already provide

that Schulte can communicate with his immediate family members directly through monitored

calls, meetings, and cleared mail. See Mot. Ex. F ¶ 3. This provision of the SAMs is certainly

appropriate, particularly in light of Schulte’s prior use of his family to transmit classified

information. See Saipov Order, p. 26 n.18 (denying motion to vacate identical provision).

       Third, Schulte argues that the SAMs have a chilling effect on the defense team. Def. Br.

at 22. Schulte cites no precedent in which SAMs were vacated on this basis, and the Government

is aware of none. Rather, Schulte states that he is “well aware of the prosecution of Lynne Stewart

in this district, whose false-statements conviction stemmed from her violation of SAMs in a

terrorism case.” Id. The Stewart case, however, does not, as Schulte argues, create an “ambiguous

line . . . between zealous advocacy and actions the government could deem a threat to national

security.” Id. In the Stewart case, counsel knowingly and clearly violated SAMs (and federal law)

by smuggling messages between her client and co-conspirators. The line drawn in Stewart is clear,

and easily avoidable by Schulte’s attorneys. See Hashmi, 621 F. Supp. 2d at 87 (rejecting identical

argument); see also Saipov Order at 26 (same).

       D.      The SAMs Do Not Violate Schulte’s First Amendment Rights

       Finally, Schulte argues that the SAMs restrictions that allow him to interact with only

immediate family violate his First Amendment rights. Def. Br. at 23. Initially, there is clearly a

“valid, rational connection” between this limitation and the legitimate governmental interest in

preventing Schulte from disclosing classified information: Schulte has already demonstrated his

willingness to use members of his extended family (like his cousin) to disseminate classified

information illegally. See supra pp. 6-7. The fact that there is concrete evidence of Schulte’s use


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of extended family members to further his illegal conduct distinguishes this case from the ones

upon which Schulte relies. See Sattar v. Holder, 2012 WL 882401, at *5 (D. Colo. 2012) (no

evidence presented as to why specific family members were not permitted to communicate with

defendant); Mohammed v. Holder, 2011 WL 4501959, at *8 (D. Colo. 2011) (same). Moreover,

Schulte’s proposal that the BOP and FBI could simply monitor all of his contacts with his extended

family is untenable. In evaluating a proposed alternative to a prison regulation, the Court should

consider the “impact accommodation of the asserted constitutional right will have on guards and

other inmates, and on the allocation of prison resources generally.” See Turner, 482 U.S. at 89.

Schulte’s alternative would create an immense drain on resources because not only would the BOP

and FBI be forced to expend additional resources monitoring Schulte’s visits with his extended

family, but, inevitably, other inmates would seek the same accommodation. When coupled with

Schulte’s willingness to exploit his family to serve his “information war,” the cost of Schulte’s

proposed accommodation supports maintaining the SAMs as is.

                                        CONCLUSION

       Accordingly, the Government respectfully requests that the Court deny Schulte’s motion

to vacate the SAMs.

Dated: New York, New York
       June 17, 2019                                Respectfully submitted,

                                                    GEOFFREY S. BERMAN
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